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                                                   THE

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NY, FEDERAL, AND U.S. SUPREME                                                           NY AND FEDERAL COURT



                                                                    March 4, 2019
VIA ECF

The Honorable Robert D. Drain
United States Bankruptcy Court
Southern District of New York
300 Quarropas Street
White Plains, NY 10601


         Re:       Loss Mitigation Status Report
                   Chapter 7 Debtor: Louise Riccio
                   Case No.: 17-22989 (rdd)


Dear Judge Drain:

       Please allow this letter to serve as a status report in the pending Loss Mitigation pursuant to the
Southern District of New York Bankruptcy’s Loss Mitigation Program. Our office represents the Debtor,
Louise Riccio, in the above referenced case.

On March 4, 2019, this office emailed opposing counsel debtor’s documents in response to the creditor’s
January 30, 2019 missing document letter, supplying the additional information requested.


Thank You.
Very Truly Yours,

/s/ Scott B. Ugell________
Scott B. Ugell
